






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-76,432




EX PARTE FREEMAN EVANS, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 06-00009-IQ IN THE 204TH DISTRICT COURT
FROM DALLAS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of capital murder
and sentenced to life imprisonment.  The Fifth Court of Appeals affirmed his conviction. Evans v.
State, No. 05-06-00323-CR (Tex. App.–Dallas, delivered July 10, 2007).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that he was denied his right to file a pro se petition for discretionary
review.  Specifically, he contends that although he timely placed his pro se petition for discretionary
review in the prison mail system, it was not received by the Fifth Court of Appeals until after the
filing deadline, and for that reason, was dismissed for want of jurisdiction. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court entered findings of fact and conclusions of law, which are supported by the
record, that Applicant placed his petition for discretionary review into the prison mail system timely,
but that his petition was not received by the Court of Appeals until after the filing deadline had
passed. The trial court recommends that relief be granted.  We agree.  Pursuant to this Court’s recent
decision in Campbell v. State, which extends the “mailbox rule” to incarcerated inmates, Applicant
is entitled to file an out-of-time petition for discretionary review of the judgment of the Fifth Court
of Appeals in Cause No. 05-06-00323-CR that affirmed his conviction in Case No. 06-00009-IQ
from the 204th Judicial District Court of Dallas County.   See Campbell v. State, No. PD-1081-09
(Tex. Crim. App., delivered September 22, 2010).  Applicant shall file his petition for discretionary
review with the Fifth Court of Appeals within 30 days of the date on which this Court’s mandate
issues.
&nbsp;
Delivered: October 13, 2010
Do not publish.


